
229 Md. 617 (1962)
182 A.2d 52
MIDGETT, ALIAS BALLANCE
v.
WARDEN OF THE MARYLAND PENITENTIARY
[App. No. 11, September Term, 1962.]
Court of Appeals of Maryland.
Decided June 15, 1962.
*618 Before BRUNE, C.J., and HENDERSON, HAMMOND, PRESCOTT, HORNEY, MARBURY and SYBERT, JJ.
PER CURIAM:
Application for leave to appeal is denied for the specific reasons held by the trial judge in her opinion in this proceeding to be applicable to each of the applicant's grounds for relief, respectively.
Application denied.
